
216 Md. 627 (1958)
139 A.2d 508
CHASE
v.
WARDEN OF MARYLAND HOUSE OF CORRECTION
[H.C. No. 98, September Term, 1957.]
Court of Appeals of Maryland.
Decided March 21, 1958.
Before BRUNE, C.J., and HENDERSON, HAMMOND, PRESCOTT and HORNEY, JJ.
PER CURIAM:
The petitioner's sole contention in this application for leave to appeal from the denial of his petition for a writ of habeas corpus is that he is entitled to have time spent by him on parole credited to his original sentence. Whether a person returned to custody for violation of parole is to receive such credit is a matter resting in the discretion of the Board of Parole and Probation. Article 41, section 115, Code (1957). A failure of the Board to exercise its discretion so as to grant credit does not deprive the petitioner of any constitutional *628 right, even if we assume, without deciding, that such a question could be raised on habeas corpus. Clark v. Warden, 213 Md. 641, 642.
Application denied, with costs.
